180 F.2d 749
    BOTTINEAU COOPERATIVE CREAMERY, Appellant,v.UNITED STATES of America.
    No. 13995.
    United States Court of Appeals, Eighth Circuit.
    March 10, 1950.
    
      Appeal from the United States District Court for the District of North Dakota.
      Robert O. Sullivan, St. Paul, Minn., for appellant.
      P. W. Lanier, United States Attorney, Fargo, N.D., and J. P. Stevens, Assistant United States Attorney, Minot, N.D., for appellee.
      PER CURIAM.
    
    
      1
      Appeal from District Court dismissed, on motion of appellee and stipulation of parties.
    
    